Case 1:23-cv-00108-LMB-JFA Document 1003 Filed 07/26/24 Page 1 of 2 PageID# 72866



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division


       UNITED STATES, et al.,

                                      Plaintiffs,

              vs.                                               No. 1:23-cv-00108-LMB-JFA

       GOOGLE LLC,

                                      Defendant.



                               GOOGLE LLC’S NOTICE OF FILING

             As directed by the Court (Dkt. Nos. 547 & 871) Defendant Google LLC (“Google”)

      has objected to the public use of certain trial exhibits (Dkt. No. 985). Notice is given of the

      filing of REDACTED EXHIBITS attached hereto.
Case 1:23-cv-00108-LMB-JFA Document 1003 Filed 07/26/24 Page 2 of 2 PageID# 72867




      Dated: July 26, 2024.                Respectfully submitted,

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